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                                              EXHIBIT A

                          UNITED STATES BANKRUPTCY COURT
                            SOUTIIERN DISTRICT OF INDIANA


IN RE: PROCEEDING TO ENF.ORCE                        )
FED. R. BANKR. P.9036                                )r,
                                                     )
FRANCISCAN ALLIANCE,                                 )
ANGELA CHAPMAN, ESQ.,                                )       Misc. Pro. No.24-56007
MARHSALL LAW, LLC,                                   )
ESKENAZI HEALTH,                                     )
WEBBANK FINGERHUT,                                   )
CITIZENS ENERGY G ROTIP,                             )
COLLECTION ASSOCIATES N BDA RI},IP,                  )
                                                     )
       Respondents.                                  )

                    STATEMEN'I' CONFIRMING REGISTRATION FOR
                       ELECTRIONIC BANI(RUPTCY NOTICING

        This Statement is filed on behalf     of   irnr:re1-a Chaptaan Esg.

          The entity identifred above received the Court's Order requiring attendance at a status
 conference to assure compliance with the electronic noticing requirements of Federal Rule of
 Bankruptcy Procedure 9036. The Order authorizes the filing of this statement in lieu of attendance
 at the status conference.


       The entity identified above registered for electronic bankruptcynoticing    on  .Iu1     t;
                                                                                               1 7 ,202t, .
 The entity has attached to this stzrtement a copy of the confirmation email it received tiom the
 Bankruptcy Noticing Center reflecting that it has completed its registration for electronic noticing.
 By registering for electronic bankruptcy noticing, the entity has agreed to receive its bankruptcy
 notices from the U.S. Bankuptcy Courts at the email address identified on the attached
 confirmation email from the Bankruptcy Noticing Center.

         The individual signing this; statement represents that the individual is an authorized agent
 of the entity identified above.




                                Sigrrature:


                            Typed ){ame:           zingela Cha;.riian, lisq.

                                     Date:           Jul-y 18,2024
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Fry Gmail                                                           ANGELA CHAPMAN <achapmannotices@gmai!.com>



welcome to Electronic Bankruptcy Noticing 222731 lp-216069663]
1 message

bncedi@noticingcenter.com <bncedi@noticingcenter.com>                                         Wed, Jul 17,2024 at 11:38 PM
To: achapmannotices@gmail.com


 Welcome to the Bankruptcy Noticing Center (BNC) Services and tnank you for signing up to receive your bankruptcy
 notices electronically from the BNC. Electronic Bankruptcy Noticing (EBN) is a FREE service provided by the U.S.
                                                                                                                     '
 Bankruptcy Courts that allow court notices to be transmitted electronically, delivering them faster and more conveniengy
 to you.

 Below is your account information:
 Account Number: 222731 - 0
 Account Name: ANGELA CHAPMAN ESQ

 The point of contact listed on your agreement will have received an email with their username and password to access
 our online portal at https://bankruptcynotices.uscou(s.gov. From this website, you can review your account information,
 request changes, and add additional users to access your account.

 lf you have any questions, please contact us.

 Sincerely,

 The Bankruptcy Noticing Center Support Team
 (877) 837-3424
 ebn@baesysterns.com
 https :/lbankru ptcynotices. uscou rls.gov

 Please note this email address is not a monitored email address.
